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      ORDERED in the Southern District of Florida on August 16, 2018.




                                                       Laurel M. Isicoff
                                                       Chief United States Bankruptcy Judge




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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA

       In re:                                              Case No. 18-15891-BKC-LMI

       MAURICE SYMONETTE,                                  Chapter 7

                  Debtor.
       ________________________________/

                               ORDER DENYING MOTION TO RECONSIDER

                This matter came before the Court upon the Debtor’s Motion to Reconsider (the

      “Motion”) (ECF #71) filed on August 14, 2018. The Debtor requests that the Court reconsider its

      Order Confirming There is No Automatic Stay in Effect (ECF #65).

                Based upon the record, it is

                ORDERED as follows:

                1.      The Motion is DENIED.

                2.      The Debtor previously filed Case No. 16-20959-EPK in the Bankruptcy Court for the

                     Southern District of Florida on August 8, 2016. The case was closed on October 27,

                     2017. The Debtor then filed this case on May 16, 2018. 11 U.S.C. §362(c)(3)(A) states
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             that if a debtor has two cases pending within a year the automatic stay terminates “on the

             30th day of the filing of the later case.” So, the automatic stay in this case expired on June

             15, 2018.

        3.       The Debtor would have had to file a motion to extend the stay and have that motion

             heard by the Court before June 15, 2018. If the Court had granted the Motion, then and

             only then would the automatic stay in this case have been extended. Because the Debtor

             did not file a timely motion to extend the automatic stay, there is no stay in effect.

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Copies furnished to:
Maurice Symonette, pro se Debtor

                          The Clerk shall serve a copy of this order upon all parties in interest.




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